Case 1:13-cr-00969-JB Document 57 Filed 06/18/14 Page 1 of 10

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

Plaintiff,
vs. No. 13-CR-00969 ABI
RACHEL CHAVEZ BASURTO,

Defendant.

SENTENCING MEMORANDUM
AND MOTION FOR DOWNWARD DEPARTURE

A. Introduction

In the United States v. Booker, 543 U.S. 220 (2005), United States Supreme Court severed
the mandatory provisions from the Federal Sentencing Act, making the Guidelines
effectively advisory. In excising the two sections, the Supreme Court left the remainder of
the Act intact, including 18 U.S.C. § 3553. The Court noted that, “Section 3553(a) remains
in effect, and sets forth numerous factors that guide sentencing. Those factors in turn will
guide appellate courts, as they have in the past, in determining whether a sentence is
unreasonable.” /d. At 261.

Congress directed sentencing courts to impose a sentence, “sufficient, but not
greater than necessary” to satisfy four statutory defined purposes. 18 U.S.C. § 3553(a). In
discharging its sentencing responsibilities, the Court is to “consider the nature and
circumstances of the offense and the history and characteristics of the Defendant” and “the
need for the sentence imposed” to satisfy the four enumerated purposes. These are:

(A) To reflect the seriousness of the offense, to promote respect of the
Case 1:13-cr-00969-JB Document 57 Filed 06/18/14 Page 2 of 10

law, and to provide just punishment for the offense;
(B) To afford adequate deterrence to criminal conduct;
(C) To protect the public from further crimes of the Defendant; and
(D) To provide the Defendant with immediate educational or vocational
training, medical care, or other correctional treatment in the most
effective manner.
18 U.S.C. § 3553(a)(2)(A)-(D). In addition, among other factors, the Court is to consider
the kinds of sentences available, the sentencing guideline range and criminal history of the
Defendant. 18 U.S.C. § 35533)(4)(A).

On March 4, 2014, Ms. Basurto plead guilty to one count of possession with intent
to distribute heroin and one count of possession with intent to distribute methamphetamine.
Her adjusted offense level is 28 and her Criminal History Category is IV. Her advisory
guideline sentencing range is 110 to 137 months. PSR § 78.

Ms. Basurto did not receive a reduction in her adjusted offense level for acceptance
of responsibility despite the fact that she plead guilty in a timely manner. Under the normal
practice of this jurisdiction, she would receive a reduction of two levels for acceptance of
responsibility under U.S.S.G. § 3E1.1(a) plus an additional point for promptly pleading
guilty and saving the Government resources otherwise expended in preparation for trial.
U.S.S.G. § 3E1.1(b).

Ms. Basurto plead guilty on March 4, 2014. The plea was entered without a plea
agreement but after significant pre-trial negotiation. It was done in a sufficiently timely

manner that counsel expected the full three point reduction to her adjusted offense level.

2
Case 1:13-cr-00969-JB Document 57 Filed 06/18/14 Page 3 of 10

On April 16, 2014, Ms. Basurto’s conditions of release were revoked based upon
allegations that she sold 0.6 grams of heroin on March 22, 2014 and 0.5 grams of heroin
on March 27, 2014. The sales were allegedly made to a confidential informant employed
by the Grants, New Mexico Police Department. PSR 5-6. The Presentence Report denied
her reductions for acceptance of responsibility finding that she continued to engage in
criminal conduct. PSR {| 31. If acceptance of responsibility points were provided, Ms.
Basurto’s adjusted offense level would be a 25 and her Guideline Sentencing range 77 to
96, months rather than the present calculation of 110 to 137 months.

The Government may argue that no variances are appropriate due to Ms. Basurto’s
involvement in drug sales during her pre-trial release. This argument ignores the penalty
that Ms. Basurto has already paid. The failure to receive acceptance of responsibility points
raises her sentencing range by 33 months at the low end and 41 months at the high end.
This, for the sale of a gram of heroin with a retail value of less than $100 which has no
effect on the base offense level in this case. Had this been a separate offense, Ms. Basurto
would have been facing a guideline offense level of 10 (with acceptance) and a range of 15
to 21 months. Instead, she increased her guideline range by a range of 33 to 41 months.

Admittedly, Ms. Basurto’s engagement in the lowest level of street drug transactions
does not demonstrate a profound withdrawal from criminal conduct or associations. It is
the sort of marginal commercial engagement which is entertained by those whose
economic circumstances are desperate and whose options are limited. Ms. Basurto has
paid her price under the guidelines for her conduct. It should not affect her arguments for

a variance.
Case 1:13-cr-00969-JB Document 57 Filed 06/18/14 Page 4 of 10

B. Ms. Basurto’s Criminal History Score Over Represents Her Criminal
History and Departure or Variance is Therefore Warranted

Ms. Basurto’s Criminal History Category is TV. This category is a function of three
convictions for which she received a total of seven criminal history points. Ms. Basurto
was convicted in 1998 for a 1997 check forgery and possession of stolen credit cards. PSR
{| 39. She was subsequently convicted in 1998 for receiving and disposing of a stolen
Navajo rug. PSR { 40. She received three criminal history points for each of these
convictions. She received on additional point for a 2011 shoplifting conviction for which
she was sentenced to a $480 fine. PSR 41.

Between 1988 and 1998, Ms. Basurto battled heroin additions. PSR 64. In order -
to support her habit, she resorted to property crimes such as check forgery. When arrested
for the 1997 check forgery, she was found to be in possession of drug paraphernalia. PSR
| 39. After conquering her addiction in 1998, Ms. Basurto remained free of any
involvement with the criminal law, with the single exception of one shoplifting conviction,
fora period of over 15 years until the instant case. PSR J 39-43. The two offenses which
account for six of her seven criminal history points are now 16 and 17 years old. PSR §
39, 40.

A sentence imposed more than 15 years prior to the defendant’s commencement of
the instant offense is not counted for criminal history points unless the defendant’s
incarceration extended into the 15 year period. U.S.S.G. § 4A1.2(e). The 15 year period
for the 1997 forgery conviction for which Ms. Basurto received three criminal history

points would have expired on or about May 2013. Ms. Basurto committed the instant
Case 1:13-cr-00969-JB Document 57 Filed 06/18/14 Page 5 of 10

offense on March 5, 2013.. Similarly, the 1998 receiving/disposing stolen property
conviction would have run its time limitation relatively soon after Ms. Basurto committed
the instant offense. Therefore, both conviction, accounting for six criminal history points,
teeter on the cusp of the Guidelines, “latches” limitation. See United States v. Collins, 122
F.3d 1297 (10 Cir. 1997) (departure from career offender 151-188 to 42 months where
~ defendant was 65 and ill and ten year old conviction overstated criminal history because
conduct committed beyond ten year limit), United States v. Williams, 432 F.3d 621 (6 Cir.
2005) (in felony possession case, departure to 24 months from 48 granted in part because
prior felony was old, no new crimes in interim, so criminal history overstated propensity
to commit crimes), United States v. Fletcher, 15 F.3d 553, 557 (6 Cir. 1994) (affirming
departure downward from career offender guideline based on age of prior convictions, time
intervening between priors and current crime among other factors), United States v.
Bowser, 941 F.2d 1019, 1024 (10™ Cir. 1991) (age and close proximity in time between
prior criminal acts provided proper basis to depart). Ms. Basurto’s prior felonies are as old
as they could be and still qualify for criminal history points. They are both non-violent
offenses and they were committed within a year of each other while the defendant suffered
from drug addiction.

As important in considering the overrepresentation of Ms. Basurto’s criminal
history, is that during the intervening 15 years between the commission of her 1997 and
1998 crimes and the instant offense is that Ms. Basurto only suffered one misdemeanor

conviction and no other interface with the criminal law. PSR § 41, 44. This conviction

was for shoplifting for which she received a fine. This significant period of law abiding

5
Case 1:13-cr-00969-JB Document 57 Filed 06/18/14 Page 6 of 10

conduct diminishes even further the immediacy and potency of her two prior, non-violent
offenses.

As a Criminal History Category IV, Ms. Basurto is placed in the same category as
a defendant who had been previously convicted of armed robbery in 2005, served five
years, was convicted for aggravated assault with great bodily harm in 2010, sentenced to
three years, and appears before the Court convicted as a felon in possession of a firearm
with a supervised release violation. Clearly, Ms. Basurto does not present a comparable
criminal history.

If neither of these convictions were assessed criminal history points, Ms. Basurto
would be at Criminal History I. At a level 28 and a Criminal History I, she would have a
sentencing range of 78 to 97 months.

C. Ms. Basurto’s Medical Condition is Exceedingly Precarious and
Merits a Variance

Ms. Basurto is 53 years old. She is not in good health. She suffers from depression,
hypertension, epilepsy, and a combination of serious physical ailments. Ms. Basurto is a
diabetic, is affected with rheumatoid arthritis, chronic back pain, fibromyalgia, cirrhosis of
the liver, and hepatitis C. Many of Ms. Basurto’s ailments cause great pain. For these, she
was receiving morphine (rheumatoid arthritis and back condition) symbalta (fibromyalgia),
amitriptyline (migraine headaches), and hydroxyzine (back pain). Others are chronic
conditions from which her health will deteriorate as she ages. These include diabetes,
depression, cirrhosis of the liver, and hepatitis C. PSR 60-61. In addition, Ms. Basurto

suffers from epilepsy for which she also is under a course of medication. See generally,
Case 1:13-cr-00969-JB Document 57 Filed 06/18/14 Page 7 of 10

12/17/2013 report of Dr. Arnold Valdivia, attached as Exhibit A, report of Kaseman Spine
and Pain Clinic, attached as Exhibit B.

At 53 years of age, the combination of Ms. Basurto’s medical conditions do not
auger for a particularly vital aging process. As she advances deeper into her sixth decade,
these various conditions are likely to worsen and take an accelerating toll on her overall
health. In addition, her life expectancy as the result of her hepatitis C, cirrhosis of the liver,
and diabetes is considerably truncated. Sadly, her prospects are for a shorter and
increasingly more difficult life. Therefore, assuming a life expectancy of maybe 20 to 25
years, a sentence of 110 months is virtually half her remaining life.

In detention, Ms. Basurto is not receiving all of her medications. This is particularly
true for those of her pain medications which are narcotic based. Although the Bureau of
Prisons assures that they can effectively treat Ms. Basurto’s conditions, she will likely only
be provided with non-narcotic pain relief when clearly her condition calls for stronger
medications. Many of Ms. Basurto’s medical condition cannot be cured. Her ailments can
only be managed. Some are progressively deteriorating, some progressively more painful
and some, such as epilepsy, are episodic and triggered by environmental factors. Given
the fact that her health will continually worsen and that she is in constant and incurable
pain, her incarceration will be more difficult than a similarly situated inmate without her
constellation of medical problems. See United States v. Edwards, 595 F.3d 1004 (9 Cir,
2010) (Court varies to sentence of probation for guideline range of 27 to 33 months where
client has diabetes and other illnesses), United States v. Rausch, 570 Fed.Sup.2d 1295 (D.

Colo. 2008) (Defendant convicted of possession of child pornography, guidelines 120

7
Case 1:13-cr-00969-JB Document 57 Filed 06/18/14 Page 8 of 10

months, Court varies because of defendant’s extremely poor health and vulnerability to
victimization in prison), United States v. Street, 22 F.3d 109, 112-113 (6" Cir. 1994)
(District Court has discretion to depart because of defendant’s “extraordinary physical
impairment”),

D. Ms. Basurto’s Case Would be Subject of the Proposed Guideline Amendment
and is Covered by the Department of Justice Policy of March 31, 2014

The proposed amendment to the Sentencing Guidelines § 2D1.1(c) and the
Department of Justice Policy announced on March 31, 2014 in recognition of the
amendment provides for a two level downward adjustment to Ms. Basurto’s guideline
range. The proposed amendment to U.S.S.G. § 2D1.1 has passed the Sentencing
Commission and final approval is pending before Congress. Passage appears likely. Under
the amendment, Ms. Basurto would qualify for a base offense level two points lower than
her present calculation. After November 1, 2014, her base offense level would become a
24. PSR § 94. As Counsel understands it, the Department of Justice policy announced
March 13, 2014, provides that the two point downward adjustment should be applied to
pending cases. Ata level 14 and a Criminal History Category IV, Ms. Basurto would face
an advisory guideline range of 92 to 115 months. At a level 24 with a Criminal History
Category I, Ms. Basurto would face a guideline range of 51 to 63 months. 18 U.S.C. §
3553(a)(2)(3) directs the Court to consider “the kinds of sentences available”. As noted in
the Presentence Report, the proposed amendment to the Sentencing Guidelines is a valid

consideration for the Court. PSR 94.
Case 1:13-cr-00969-JB Document 57 Filed 06/18/14 Page 9 of 10

E. Ms. Basurto’s Cares for Her Father and Mother

Ms. Basurto’s parents are disabled. Prior to her arrest, she provided care for them.
She is the mother of three adult daughters and five grandchildren for whom she also
provides aide and parenting. The Presentence Report notes these circumstances as factors
that may merit a variance. PSR q 94.

F. Conclusion

Ms. Basurto poses a number of factors that weigh in favor of a variance. The
Presentence Report acknowledges that in consideration of these factors, a sentence within
the guidelines (110 to 137), “may be greater than necessary to comply with the purposes
of sentencing.” PSR 95. The Presentence Report notes that Ms. Basurto’s heroin
addiction, her drug free status since 2000, a history of depression, serious medical
conditions, her relatively advanced age, her difficult childhood, and a criminal history that
consists of non-violent charges provide grounds for a downward variance which “may be —
warranted in this case.” PSR ¥ 94, 95.

If the Court starts with the amendment to U.S.S.G. 2D1.1, Ms. Basurto would be a
level 24. See Section D supra. Her criminal history over represents her severity. If the
Court considered only her convictions within 15 years of this sentencing, she would be a
Criminal History I. See Section B supra. At a level 24 and a Criminal History I, Ms.
Basurto’s sentencing range would be 51 to 63 months. The Court may also consider her
medical condition and other factors noted in the closing paragraphs of the Presentence

Report to impose a sentence at the low end or below that range.
Case 1:13-cr-00969-JB Document 57 Filed 06/18/14 Page 10 of 10

I hereby certify that on June 18, 2014,

I filed the foregoing pleading electronically

through the CM/ECF system, which caused

the following parties or counsel to be served
by electronic means, as more fully reflected
on the Notice of Electronic Filing:

AUSA Linda Mott and

AUSA Lynn Wang

nr
Linda Mott, AUSA
Lynn Wang, AUSA

10

Respectfully submitted,

FEDERAL PUBLIC DEFENDER
111 Lomas NW, Suite 501
Albuquerque, NM 87102

(505) 346-2489

RICHARD A. WINTERBOTTOM
Attorney for Defendant
